Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page1 of 47
                                                                 FILED Page: 1
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020
                                                     United States Court of Appeals
                                                              Tenth Circuit

                                     PUBLISH                August 31, 2020
                                                          Christopher M. Wolpert
                       UNITED STATES COURT OF APPEALS         Clerk of Court

                                   TENTH CIRCUIT



  In re: BYRON PATTERSON
  MCDANIEL, JR.; LAURA PAIGE
  MCDANIEL,

         Debtors.

  -----------------------------
                                                     No. 18-1445
  BYRON PATTERSON MCDANIEL,
  JR.; LAURA PAIGE MCDANIEL,

         Plaintiffs - Appellees,

  v.

  NAVIENT SOLUTIONS, LLC,

         Defendant - Appellant.


                  Appeal from the United States Bankruptcy Court
                             for the District of Colorado
                 (Nos. 1:17-BK-01274-KHT & 1:17-BK-01274-KHT)


 Thomas M. Farrell, McGuireWoods LLP, Houston, Texas (K. Elizabeth Sieg,
 McGuireWoods LLP, Richmond, Virginia; Eric E. Johnson and Carla R. Martin,
 Sherman & Howard LLC, Denver, Colorado, on the briefs), for Defendant-
 Appellant.

 Austin C. Smith, Smith Law Group LLP, New York, New York, for Plaintiffs-
 Appellees.
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page2 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 2



 Before BRISCOE, HOLMES, and EID, Circuit Judges.


 HOLMES, Circuit Judge.



       The Bankruptcy Code excepts from discharge “an obligation to repay funds

 received as an educational benefit,” unless doing so imposes undue hardship on

 the debtors and their dependents. 11 U.S.C. § 523(a)(8)(A)(ii). Plaintiffs-

 Appellees Byron and Laura McDaniel claim that they discharged some private

 student loans in their Chapter 13 bankruptcy. Defendant-Appellant Navient

 Solutions, LLC (“Navient”), the loans’ creditor, moved to dismiss the McDaniels’

 claim under Federal Rule of Civil Procedure 12(b)(6), contending that the loans

 are excepted from discharge under § 523(a)(8)(A)(ii). This case raises a question

 of first impression in this circuit: does an educational loan constitute “an

 obligation to repay funds received as an educational benefit,” within the meaning

 of § 523(a)(8)(A)(ii)? 1 We conclude that it does not. Exercising jurisdiction

 under 28 U.S.C. § 158(d)(2)(A), we affirm the bankruptcy court’s interlocutory

 order denying Navient’s motion and remand the case for further proceedings.




       1
             We use the terms “student loan” and “educational loan”
 interchangeably in this opinion because—at least under the circumstances of this
 case—we see no material distinction between them.

                                           2
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page3 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 3



                                          I

       The McDaniels filed a voluntary Chapter 13 bankruptcy petition in 2009.

 They acknowledged that they had, among other debts, eleven accounts with Sallie

 Mae, owing about $200,000 on them. They categorized their debts to Sallie Mae

 as “[e]ducational.” Aplt.’s App., Vol. I, at 41–43 (Ch. 13 Pet., filed Dec. 24,

 2009). It is undisputed that those Sallie Mae accounts covered six private student

 loans (“Tuition Answer Loans”) that Laura McDaniel had used to pay her college

 expenses. Despite disclosing those loans in their petition, the McDaniels asserted

 in their proposed Chapter 13 plan that they had “[n]o student loans.” 2 Id. at 71

 (Ch. 13 Plan, filed Dec. 24, 2009).

       The Chapter 13 Trustee objected to the McDaniels’ proposed bankruptcy

 plan on several grounds, including that it made “no provision for [their] non-

 dischargeable student loan.” Id. at 75 (Ch. 13 Trustee’s Obj. to Confirmation of

 Ch. 13 Plan, filed Jan. 28, 2010). Whether or not the Tuition Answer Loans were

 nondischargeable, the parties do not dispute that the McDaniels had other,



       2
              “Chapter 13 of the Bankruptcy Code affords individuals receiving
 regular income an opportunity to obtain some relief from their debts while
 retaining their property. To proceed under Chapter 13, a debtor must propose a
 plan to use future income to repay a portion (or in the rare case all) of his debts
 over the next three to five years. If the bankruptcy court confirms the plan and
 the debtor successfully carries it out, he receives a discharge of his debts
 according to the plan.” Bullard v. Blue Hills Bank, 575 U.S. ----, 135 S. Ct. 1686,
 1690 (2015).

                                          3
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page4 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 4



 federally insured student loans that were nondischargeable.

       The bankruptcy court never had occasion to take up the merits of the

 Trustee’s objections. A little more than one month after the objections were filed,

 in a hearing, the McDaniels told the court—without mentioning the Trustee’s

 objections—that they needed to amend their plan: more specifically, through

 review of documents, they were learning that the numbers reflected in their

 proposed plan for charitable contributions and other matters were not completely

 accurate. See Tr. of Mar. 11, 2010 Continued Confirmation Hr’g & the Ch. 13

 Trustee’s Obj. Thereto at 3, In re McDaniel, No. 09-37480 (Bankr. D. Colo. Oct.

 17, 2018) [hereinafter Tr. of Continued Confirmation Hr’g] (“[B]ased on the

 information we received even as late as this week, it’s clear that we’re going to

 have to file an amended plan. . . . We’ve got numbers going both ways . . . .”). 3

 Consequently, the bankruptcy court denied the McDaniels’ original proposed

 plan, granted them time to file an amended plan, and deemed the Trustee’s


       3
               We take judicial notice of the transcript of this hearing and other
 documents in the bankruptcy court’s files—even though not found in Navient’s
 appendix—that are directly relevant to our disposition of this appeal. See Gee v.
 Pacheco, 627 F.3d 1178, 1191 (10th Cir. 2010) (observing that we may “take
 judicial notice of court records in the underlying proceedings”); United States v.
 Ahidley, 486 F.3d 1184, 1192 n.5 (10th Cir. 2007) (recognizing that “we may
 exercise our discretion to take judicial notice of publicly-filed records in our
 court and certain other courts concerning matters that bear directly upon the
 disposition of the case at hand”); see also United States v. Rey, 811 F.2d 1453,
 1457 n.5 (11th Cir. 1987) (“A court may take judicial notice of . . . the records of
 inferior courts.”).

                                           4
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page5 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 5



 objections to their original plan “moot.” Aplt.’s App., Vol. I, at 77 (Minutes of

 Mar. 11, 2010 Continued Confirmation Hr’g & Ch. 13 Trustee’s Obj. Thereto,

 filed Mar. 11, 2010).

        In their amended proposed Chapter 13 plan, the McDaniels changed how

 much they would pay towards certain classes of debt claims. And they no longer

 alleged they had no student loans. Their amended plan provided instead,

 “[s]tudent loans are to be treated as an unsecured Class Four claim or as follows:

 deferred until end of plan.” Id. at 83 (Am. Ch. 13 Plan, filed Apr. 1, 2010). The

 plan, as amended, defined Class Four claims as “[a]llowed unsecured claims not

 otherwise referred to in the Plan.” Id. at 82. It did not indicate whether certain

 Class Four claims, deferred claims, or educational-loan debts were excepted from

 discharge. No one objected to the amended plan on a ground relevant to the

 issues before us. Sallie Mae, Inc.—which later became Navient—then filed

 several debt claims against the McDaniels, and the bankruptcy court allowed them

 all in full.

        The bankruptcy court confirmed the McDaniels’ amended Chapter 13 plan

 in 2010. In early 2015, the McDaniels certified that they had carried out all of

 their plan’s payments and obligations. According to the Trustee’s final report and

 account, the McDaniels had paid nearly $27,000 in principal towards Navient’s

 debt claims under their confirmed plan.


                                           5
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page6 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 6



       In March 2015, the bankruptcy court granted the McDaniels a discharge of

 their debts under 11 U.S.C. § 1328(a). Its brief order, however, did not identify

 which of their debts were thereby discharged. As relevant here, it simply stated

 that “[d]ebts for most student loans” were not discharged. Id. at 98 (Order

 Providing Discharge of Debtor After Completion of Ch. 13 Plan, filed Mar. 3,

 2015). In June 2015, the court deemed the McDaniels’ bankruptcy estate “fully

 administered” and closed their case. Order, In re McDaniel, No. 09-37480

 (Bankr. D. Colo. June 2, 2015). Over the next two years, however, the McDaniels

 paid Navient an additional $37,460 on their Tuition Answer Loans.

       In June 2017, the McDaniels moved the bankruptcy court to reopen their

 case. After the court did so, the McDaniels filed a complaint against Navient,

 seeking 1) a declaratory judgment that their Tuition Answer Loans were

 discharged in bankruptcy, and 2) damages based on Navient’s collection activities

 on those loans in violation of 11 U.S.C. § 524(a). The McDaniels stated that the

 loans “were not ‘qualified education loans’” under 11 U.S.C. § 523(a)(8)(B)

 because they “were not made solely for the ‘cost of attendance’” at Laura

 McDaniel’s college. Aplt.’s App., Vol. II, at 142 (Pls.’ Compl., filed July 12,

 2017). Although the McDaniels’ complaint repeatedly classified the loans as

 mere “consumer loans,” see, e.g., id. at 144, they have since acknowledged that

 the loans were also “student loans,” Aplees.’ Resp. Br. at 5. The bankruptcy


                                          6
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page7 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 7



 court docketed the McDaniels’ complaint as a new action—i.e., under its own

 docket number, No. 17-01274—instead of as a new proceeding within the docket

 number for their earlier Chapter 13 bankruptcy, No. 09-37480.

       Navient moved the bankruptcy court to dismiss the McDaniels’ complaint

 under Rule 12(b)(6), arguing 1) it is res judicata that their Tuition Answer Loans

 are excepted from discharge because their confirmed plan provided as much, and

 2) the loans in any event are nondischargeable under 11 U.S.C. § 523(a)(8)(A)(ii)

 because they constitute “an obligation to repay funds received as an educational

 benefit.” Aplt.’s App., Vol. II, at 219–40 (Def.’s Mot. to Dismiss, filed Oct. 10,

 2017) (quoting § 523(a)(8)(A)(ii)). The McDaniels opposed Navient’s motion.

       The court denied the motion in a written order, rejecting Navient’s res

 judicata argument because the McDaniels’ confirmed plan “did not specify one

 way or the other whether the Tuition Answer Loans were—or were

 not—discharged” and rejecting Navient’s statutory argument because “the plain

 language of [§ 523(a)(8)(A)(ii)]” establishes that educational loans are not

 obligations to repay funds received as an educational benefit. Id., Vol. III, at 605,

 612 (Order on Mot. to Dismiss, filed Sept. 24, 2018).

       Navient timely filed a notice of appeal from the bankruptcy court’s order

 denying its motion. Navient and the McDaniels then jointly certified under 28

 U.S.C. § 158(d)(2)(A) that this appeal warrants this court’s direct, interlocutory


                                           7
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page8 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 8



 review. The bankruptcy court also certified that we should grant Navient leave to

 appeal its interlocutory order directly. We granted Navient leave to appeal the

 order and now affirm and remand for further proceedings.

                                          II

       Navient contends that the McDaniels’ confirmed Chapter 13 plan makes it

 res judicata that its Tuition Answer Loan are excepted from discharge. We

 discern nothing in that plan, however, showing that their Tuition Answer Loans

 are excepted from discharge. Navient maintains next that these student loans are

 nondischargeable because, under 11 U.S.C. § 523(a)(8)(A)(ii), they constitute “an

 obligation to repay funds received as an educational benefit.” We agree,

 however, with the bankruptcy court’s contrary view: viz., it is plain to us from the

 unambiguous language of § 523(a)(8)(A)(ii) that educational loans do not

 constitute such an obligation. Reviewing de novo the bankruptcy court’s denial

 of Navient’s motion to dismiss for failure to state a claim, Cohen v. Chernushin

 (In re Chernushin), 911 F.3d 1265, 1269 (10th Cir. 2018); see also Lewis v. BNC

 Mortg., Inc. (In re Lewis), 247 F. App’x 999, 1002 (10th Cir. 2007)

 (unpublished), we thus reject both arguments and affirm the bankruptcy court’s

 interlocutory order.




                                          8
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page9 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 9



                                           A

                                           1

       By statute, “[t]he provisions of a confirmed plan bind the debtor and each

 creditor.” 11 U.S.C. § 1327(a). Because a bankruptcy court’s “order confirming

 a chapter 13 plan represents a binding determination of the rights and liabilities of

 the parties,” a confirmed plan, once final, “is res judicata and its terms are not

 subject to collateral attack.” United States v. Richman (In re Talbot), 124 F.3d

 1201, 1209 (10th Cir. 1997) (quoting 8 C OLLIER ON B ANKRUPTCY ¶ 1327.02[1]

 (Lawrence P. King ed., 15th ed. 1996)); see Travelers Indem. Co. v. Bailey, 557

 U.S. 137, 152 (2009) (stating that “once the [confirmation orders] became final

 on direct review (whether or not proper exercises of bankruptcy court jurisdiction

 and power), they became res judicata to the ‘parties and those in privity with

 them’” (quoting Nevada v. United States, 463 U.S. 110, 130 (1983))); Heiser v.

 Woodruff, 327 U.S. 726, 733 (1946) (“This Court has also required that effect be

 given in both state and federal courts to a plea of res judicata arising from decrees

 of a bankruptcy court.”). The doctrine of res judicata, as relevant here,

 “precludes a party from relitigating an issue actually decided in a prior case.”

 Lucky Brand Dungarees, Inc. v. Marcel Fashions Grp., Inc., --- U.S. ----, 140 S.




                                           9
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page10 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 10



  Ct. 1589, 1594 (2020). 4

        We review de novo the bankruptcy court’s determination that res judicata

  does not preclude the McDaniels’ dischargeability claim. Clark v. Zwanziger (In

  re Zwanziger), 741 F.3d 74, 77 (10th Cir. 2014); accord City of Eudora v. Rural


        4
                “[R]es judicata” is “a term that now comprises two distinct doctrines
  regarding the preclusive effect of prior litigation.” Lucky Brand Dungarees, 140
  S. Ct. at 1594 (citing 18 Charles Alan Wright et al, F EDERAL P RACTICE AND
  P ROCEDURE § 4402 (3d ed. 2016)). The first doctrine, issue preclusion,
  “precludes a party from relitigating an issue actually decided in a prior case.” Id.
  (emphasis added). And the second doctrine, claim preclusion, “prevents parties
  from raising issues that could have been raised and decided in a prior action.” Id.
  (emphasis added); see also Migra v. Warren City Sch. Dist. Bd. of Educ., 465 U.S.
  75, 77 n.1 (1984) (“Res judicata is often analyzed further to consist of two
  preclusion concepts: ‘issue preclusion’ and ‘claim preclusion.’ Issue preclusion
  refers to the effect of a judgment in foreclosing relitigation of a matter that has
  been litigated and decided. . . . Claim preclusion refers to the effect of a judgment
  in foreclosing litigation of a matter that never has been litigated, because of a
  determination that it should have been advanced in an earlier suit.” (citation
  omitted)). Parties sometimes confuse and conflate the two doctrines. See, e.g.,
  Campbell v. City of Spencer, 777 F.3d 1073, 1079 (10th Cir. 2014) (“Campbell
  conflates the doctrines of claim preclusion and issue preclusion.”); Matosantos
  Commercial Corp. v. Applebee’s Int’l, Inc., 245 F.3d 1203, 1209 (10th Cir. 2001)
  (“Matosantos confuses res judicata (also known as ‘claim preclusion’) with
  collateral estoppel (also known as ‘issue preclusion’).”).

         Similarly, here, although Navient argues that the nondischargeability of the
  Tuition Answer Loans is res judicata because the McDaniels’ confirmed Chapter
  13 plan actually “determin[ed]” they are “non-dischargeable,” Aplt.’s Opening Br.
  at 17, Navient supports that issue-preclusion argument with caselaw regarding
  claim preclusion, id. at 16 (setting forth the elements of claim preclusion). Since
  Navient clearly is arguing that the confirmed plan determined that the McDaniels’
  student loans are excepted from discharge, we interpret Navient to be invoking
  the doctrine of issue preclusion. See id. at 17 (“As it reflects a determination that
  the Educational Loans are non-dischargeable, the Confirmation Order, which is
  undisputedly a final judgment, is a final judgment on the merits.”).

                                           10
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page11 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 11



  Water Dist. No. 4, 875 F.3d 1030, 1035 (10th Cir. 2017).

                                            2

        The bankruptcy court held that the McDaniels’ confirmed Chapter 13 plan

  did not decide whether their student loans are nondischargeable under 11 U.S.C.

  § 523(a)(8)(A)(ii) because it “did not specify one way or the other whether [those

  loans] were—or were not—discharged.” Aplt.’s App., Vol. III, at 605; see id.

  (“Nowhere in the Plan does it state the Tuition Answer Loans, or any of [the

  McDaniels’] student loans, were nondischargeable . . . .”). The court, thus, held

  that whether the McDaniels’ educational loans were discharged in bankruptcy is

  not res judicata under their confirmed plan. Id. at 606. We agree.

        The McDaniels’ confirmed Chapter 13 plan contains a single provision for

  educational loans: “[s]tudent loans are to be treated as an unsecured Class Four

  claim or as follows: deferred until end of plan.” Aplt.’s App., Vol. I, at 83. We

  agree with the bankruptcy court that the provision “contains no explicit statement

  or determination as to the dischargeability of any of [the McDaniels’] student

  loans.” 5 Id., Vol. III, at 606. Although the provision asserts that student loans


        5
                Because the bankruptcy court was interpreting a provision of the plan
  that it had adopted in its confirmation order, we consider what standard of review
  applies here. The McDaniels assert that the bankruptcy court’s interpretation of
  the plan “contains a factual finding . . . (i.e., that the Confirmed Plan did not say
  the [student loans] were non-dischargeable) and thus should only be overturned if
  made in clear error.” Aplees.’ Resp. Br. at 27 n.21. Navient, however, intimates
                                                                           (continued...)

                                            11
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page12 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 12



  may “be treated as an unsecured Class Four claim,” id., Vol. I, at 83, the plan

  defines those claims as “[a]llowed unsecured claims not otherwise referred to in

  the Plan,” id. at 82. Nothing in that definition indicates that any Class Four

  claims are excepted from discharge, and Navient, itself, consistently informs us

  that Class Four claims are “dischargeable.” See Aplt.’s Opening Br. at 4–5, 14,

  21–22.

        To be sure, the confirmed plan’s single-sentence, student-loan provision

  also asserts that student loans may be “deferred until end of plan.” Aplt.’s App.,

  Vol. I, at 83. But the mere fact that the bankruptcy court allowed the McDaniels

  to defer their student-loan payments until then does not naturally mean that the


        5
         (...continued)
  that we review de novo the bankruptcy court’s reading of the plan. See Aplt.’s
  Opening Br. at 21 (arguing that the court’s interpretation “cannot be correct”).

          We have concluded that because a “bankruptcy court surely knows more
  about the meaning of its own order than we do, . . . its interpretation of its order .
  . . is entitled to substantial deference.” William B. Schnach Ret. Tr. v. Unified
  Capital Corp. (In re Bono Dev., Inc.), 8 F.3d 720, 721–22 (10th Cir. 1993);
  accord Taumoepeau v. Mfrs. & Traders Tr. Co. (In re Taumoepeau), 523 F.3d
  1213, 1218 (10th Cir. 2008). Although we did not pronounce that conclusion in
  the context of reviewing a bankruptcy court’s construction of the terms of a
  bankruptcy plan it had confirmed, several of our sister circuits have done so,
  concluding that abuse of discretion is the appropriate standard of review. See,
  e.g., In re Shenango Grp. Inc., 501 F.3d 338, 346 (3rd Cir. 2007); Gen. Elec.
  Capital Corp. v. Dial Bus. Forms, Inc. (In re Dial Bus. Forms, Inc.), 341 F.3d
  738, 744 (8th Cir. 2003); In re Weber, 25 F.3d 413, 416 (7th Cir. 1994). We need
  not decide on the appropriate standard of review here, however, “for we would
  affirm even under the de novo review advocated by [Navient].” See In re
  Taumoepeau, 523 F.3d at 1218.

                                            12
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page13 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 13



  loans are excepted: it simply means that at least some of the McDaniels’ student-

  loan creditors might not receive payments until the end of the plan. The record,

  moreover, supports a finding that, instead of having its debt claims deferred,

  “Navient was paid as a Class Four claims holder” under the confirmed plan.

  Aplees.’ Resp. Br. at 27 (emphasis omitted); see also Ch. 13 Standing Trustee’s

  Final Report & Account at 2, In re McDaniel, No. 09-37480 (Bankr. D. Colo.

  May 30, 2015) (indicating that, under the plan, the McDaniels paid nearly $27,000

  in principal on Navient’s debt claims); Aplt.’s App., Vol. II, at 400 (Navient

  informing the bankruptcy court that the McDaniels paid off some of its

  “unsecured claims” during their “plan period”).

        In sum, we agree with the bankruptcy court that because the McDaniels’

  confirmed Chapter 13 plan does not say whether their students loans are excepted

  from discharge, the issue is not res judicata under that plan. The McDaniels may

  still litigate their claim that those loans were discharged in bankruptcy.

                                            3

        To be sure, Navient argues vigorously to the contrary. It insists that the

  bankruptcy court erred in its res-judicata decision because the McDaniels’

  confirmed Chapter 13 plan provided that “all of [their] student loans (both federal

  and private) are non-dischargeable and will be ‘deferred until end of plan.’”

  Aplt.’s Opening Br. at 21. Navient’s construction of the plan, moreover, ignores


                                           13
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page14 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 14



  both its plain language and its provision that the McDaniels’ student loans may

  “be treated as an unsecured Class Four claim.” See Aplt.’s App., Vol. I, at 83.

  Navient asserts that we should ignore the plan’s “operative language” in that

  respect because the plan’s student-loan provision was drafted in response to “the

  bankruptcy court[’s] sustain[ing] the Trustee’s objection to the Original Plan.”

  Aplt.’s Opening Br. at 21. Navient asserts that the Trustee had objected that the

  McDaniels’ original plan “impermissibly treated their non-dischargeable student

  loans as dischargeable by attempting to treat them as unsecured Class Four

  claims.” Id. (emphasis omitted).

        The record, however, does not support Navient’s factual assertions about

  the Trustee’s objections to the McDaniels’ original plan or the bankruptcy court’s

  resolution of them. First, the Trustee did not object to the original plan “on the

  ground that it impermissibly treated their non-dischargeable student loans as

  dischargeable.” Id. (emphasis omitted); see id. at 10 (asserting that the Trustee

  “object[ed] that the Original Plan could not be confirmed until it was revised to

  treat the Educational Loans as non-dischargeable”). Rather, the Trustee objected

  that the original plan made “no provision for [the McDaniels’] non-dischargeable

  student loan.” Aplt.’s App., Vol. I, at 75 (emphasis added). Put another way, the

  objection’s language indicates that the Trustee recognized that at least some of

  the McDaniels’ student loans were excepted from discharge—a fact that the


                                            14
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page15 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 15



  parties do not dispute here. The Trustee’s objection was simply that the

  McDaniels’ plan did not account for those loans at all. And that, of course, was

  true because their original plan erroneously claimed that they had “[n]o student

  loans.” Id. at 71. Navient, therefore, misconstrues the record in alleging that the

  McDaniels’ original plan treated the Tuition Answer Loans as Class Four claims

  and that the Trustee then objected that the plan should treat them instead as

  excepted from discharge.

        Navient further misconstrues the record in contending that the bankruptcy

  court sustained the Trustee’s objection in this regard. The court did no such

  thing. The court was quite clear that it had dismissed the Trustee’s objections as

  “moot” because it was denying the original plan anyway. Id. at 77. More

  specifically, the record indicates that the court denied the original plan for

  reasons unrelated to the Trustee’s objections. Tr. of Continued Confirmation

  Hr’g, supra, at 3 (the McDaniels acknowledging, without any mention of the

  Trustee’s objections, that they would need to amend their plan in any event

  because the numbers reflected in their plan for charitable contributions and other

  matters were not completely accurate). 6

        In sum, we agree with the bankruptcy court that the McDaniels’ confirmed


        6
               Thus, we reject Navient’s argument that the McDaniels “conceded
  the issue” of the nondischargeability of their Tuition Answer Loans by obtaining
  confirmation of their amended plan. See Aplt.’s Opening Br. at 17.

                                             15
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page16 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 16



  Chapter 13 plan did not decide whether their educational loans are excepted from

  discharge. 7 Navient has failed to shoulder its burden of establishing that the plan

  actually decided that issue. See Stan Lee Media, Inc. v. Walt Disney Co., 774

  F.3d 1292, 1297–98 (10th Cir. 2014). We, thus, uphold the bankruptcy court’s

  decision that res judicata does not preclude the McDaniels from litigating whether

  their student loans were discharged in bankruptcy. 8

                                           B

        Because res judicata does not preclude the McDaniels from litigating their

  dischargeability claim, we must consider the merits of Navient’s argument that 11

  U.S.C. § 523(a)(8)(A)(ii) excepts their Tuition Answer Loans from discharge in

  bankruptcy. “We review a bankruptcy court’s construction of the Bankruptcy



        7
                Relatedly, we reject Navient’s contention that we should interpret the
  confirmed plan as providing that the McDaniels’ student loans are
  nondischargeable because the McDaniels continued to pay off those loans “for
  two years after the discharge of their other unsecured debts,” see Aplt.’s Opening
  Br. at 23; see also Aplt.’s Reply Br. at 9; irrespective of the McDaniels’ post-
  confirmation conduct, that is not what the confirmed plan said.
        8
               Navient devotes significant briefing to arguing that, under United
  Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260 (2010), the McDaniels may no
  longer challenge their confirmed bankruptcy plan’s determination that their
  student loans are excepted from discharge in bankruptcy. Aplt.’s Opening Br. at
  14–15, 18–25; see also Aplt.’s Reply Br. at 6 (stating that “Espinosa’s central
  holding” is that “a confirmed Chapter 13 plan’s treatment of the dischargeability
  of student loan debt is binding on the debtor and all creditors”). Because we hold
  that the McDaniels’ confirmed plan did not decide whether their student loans are
  nondischargeable, we have no occasion to consider whether the rule of Espinosa
  would now bar the McDaniels from challenging such a decision.

                                           16
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page17 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 17



  Code de novo.” Jubber v. SMC Elec. Prods., Inc. (In re C.W. Mining Co.), 798

  F.3d 983, 986 (10th Cir. 2015); accord Connolly v. Morreale (In re Morreale),

  959 F.3d 1002, 1005 (10th Cir. 2020). “The burden is on the creditor to show a

  debt is nondischargeable under § 523(a).” Okla. Dep’t of Sec., ex. rel. Faught v.

  Wilcox, 691 F.3d 1171, 1174 (10th Cir. 2012); see also Roth v. Educ. Credit

  Mgmt. Corp. (In re Roth), 490 B.R. 908, 916 (B.A.P. 9th Cir. 2013) (“Under

  § 523(a)(8), the lender has the initial burden to establish the existence of the debt

  and that the debt is an educational loan within the statute’s parameters.”).

        Like the bankruptcy court, we conclude that the Tuition Answer Loans are

  not covered by the discharge exception set forth in § 523(a)(8)(A)(ii) because, as

  student loans, they are not “obligations to repay funds received as an educational

  benefit.” We thus affirm the court’s statutory-construction holding.

                                             1

        A “‘main purpose[]’ of the federal bankruptcy system is ‘to aid the

  unfortunate debtor by giving him a fresh start in life, free from debts, except of a

  certain character.’” Lamar, Archer & Cofrin, LLP v. Appling, --- U.S. ----, 138 S.

  Ct. 1752, 1758 (2018) (quoting Stellwagen v. Clum, 245 U.S. 605, 617 (1918)).

  “A discharge under Chapter 13 ‘is broader than the discharge received in any

  other chapter [of the Bankruptcy Code].’” United Student Aid Funds, Inc. v.

  Espinosa, 559 U.S. 260, 268 (2010) (quoting 8 C OLLIER ON B ANKRUPTCY


                                            17
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page18 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 18



  ¶ 1328.01 (Alan N. Resnick & Henry J. Sommer eds., 15th ed. rev. 2008)).

  Certain types of debt, however, are excepted from a Chapter 13 discharge. Id.

  The Bankruptcy Code provides, as relevant here, that “any debt” specified “in

  paragraph (1)(B), (1)(C), (2), (3), (4), (5), (8), or (9) of [11 U.S.C. §] 523(a)”

  shall be excepted from discharge. 11 U.S.C. § 1328(a)(2). Among the types of

  debt § 523(a)(8) excepts from discharge are the following: “an educational benefit

  overpayment or loan made, insured, or guaranteed by a governmental unit”; “any

  other educational loan that is a qualified education loan”; and—the exception at

  issue here—“an obligation to repay funds received as an educational benefit,

  scholarship, or stipend.” Id. § 523(a)(8). 9 “[S]o as to give maximum effect to the


        9
               11 U.S.C. § 523(a)(8) provides in full:

                      (8) unless excepting such debt from discharge under this
                      paragraph would impose an undue hardship on the debtor
                      and the debtor’s dependents, for—

                            (A)(i) an educational benefit overpayment or loan
                            made, insured, or guaranteed by a governmental
                            unit, or made under any program funded in whole or
                            in part by a governmental unit or nonprofit
                            institution; or

                            (ii) an obligation to repay funds received as an
                            educational benefit, scholarship, or stipend; or

                            (B) any other educational loan that is a qualified
                            education loan, as defined in section 221(d)(1) of
                            the Internal Revenue Code of 1986 [26 U.S.C. §
                                                                       (continued...)

                                            18
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page19 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 19




       9
           (...continued)
                             221(d)(1)], incurred by a debtor who is an
                             individual[.]

                In very general terms, this provision

                       applies only to three categories of educational debt: (1)
                       government and nonprofit-backed loans and educational
                       benefit overpayments, (2) obligations to repay funds
                       received as an educational benefit, scholarship, or stipend,
                       and (3) qualified education loans. Unless an educational
                       debt falls within one of these classifications, it is
                       dischargeable through the normal bankruptcy process.

                Jason Iuliano, Student Loan Bankruptcy and the Meaning of
                Educational Benefit, 93 A M . B ANKR . L.J. 277, 281–82 (2019)
                (footnotes omitted); see also id. at 283–88 (providing a more
                extensive overview of these provisions). To further clarify the
                statutory context of § 523(a)(8)(A)(ii), subsection (B)’s arguably
                opaque language—though not directly at issue in this interlocutory
                appeal—warrants further brief discussion:

                       Subsection (B) requires a journey through multiple statutes
                       to understand its meaning. A partial explanation is that
                       the referenced Internal Revenue Code section defines a
                       “qualified education loan” as, among other things, “any
                       indebtedness incurred by the taxpayer solely to pay
                       qualified higher education expenses,” along with other
                       conditions. 26 U.S.C. § 221(d). The qualified expenses
                       are “the cost of attendance” at the eligible education
                       institution, reduced by scholarships and other payments.
                       Id. An eligible institution is defined, with exceptions, in
                       Internal Revenue Code Section 25A(f)(2), as one “which
                       is eligible to participate in a program under Title IV” of
                       the Higher Education Act.

                Crocker v. Navient Sols., L.L.C. (In re Crocker), 941 F.3d 206, 217–18
                                                                          (continued...)

                                             19
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page20 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 20



  policy of the bankruptcy code to provide debtors with a ‘fresh start,’” Geiger v.

  Kawaauhau (In re Geiger), 113 F.3d 848, 853 (8th Cir. 1997) (en banc), aff’d,

  523 U.S. 57 (1998), we limit those exceptions to discharge only “to those plainly

  expressed” in the statute, Bullock v. BankChampaign, N.A., 569 U.S. 267, 275

  (2013) (quoting Kawaauhau, 523 U.S. at 62); accord Affordable Bail Bonds, Inc.

  v. Sandoval (In re Sandoval), 541 F.3d 997, 1001 (10th Cir. 2008). 10

                                            2

        The bankruptcy court held that the McDaniels’ Tuition Answer Loans are

  not “an obligation to repay funds received as an educational benefit” within the

  meaning of 11 U.S.C. § 523(a)(8)(A)(ii). Aplt.’s App., Vol. III, at 606–12. The

  court noted first that an adjoining subsection of the statute excepts from discharge

  “an educational benefit overpayment or loan made, insured, or guaranteed by a



        9
            (...continued)
                  (5th Cir. 2019).
        10
               Navient cites Benson v. Corbin (In re Corbin), 506 B.R. 287 (Bankr.
  W.D. Wash. 2014), for the proposition that the exception to discharge set forth in
  11 U.S.C. § 523(a)(8)(A)(ii) “is interpreted very broadly.” Aplt.’s Opening Br. at
  42 n.23 (quoting In re Corbin, 506 B.R. at 296). The bankruptcy court in In re
  Corbin derived that proposition from its review of published decisions in cases
  like Sensient Technologies Corp. v. Baiocchi (In re Baiocchi), 389 B.R. 828
  (Bankr. E.D. Wis. 2008). See In re Corbin, 506 B.R. at 296 (construing In re
  Baiocchi). Regardless of whether the bankruptcy court properly construed those
  decisions, we have long held that “[e]xceptions to discharge are to be narrowly
  construed.” In re Sandoval, 541 F.3d at 1001 (quoting Bellco First Fed. Credit
  Union v. Kaspar (In re Kaspar), 125 F.3d 1358, 1361 (10th Cir. 1997)). And our
  precedent of course binds us here.

                                           20
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page21 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 21



  governmental unit.” Id. at 607 (quoting 11 U.S.C. § 523(a)(8)(A)(i)). The court

  then determined that the statute’s use of “[t]he disjunctive ‘or’ . . . distinguishes

  an ‘educational benefit overpayment’ from a ‘loan.’” Id.; see Loughrin v. United

  States, 573 U.S. 351, 357 (2014) (observing that the “ordinary use [of ‘or’] is

  almost always disjunctive, that is, the words it connects are to be given separate

  meanings” (quoting United States v. Woods, 571 U.S. 31, 45–46 (2013))).

        The bankruptcy court also noted that because § 523(a)(8)’s exceptions from

  discharge under subsections (A)(i) and (B) expressly mention the word “loans,”

  see 11 U.S.C. § 523(a)(8)(A)(i), (B), Congress presumably did not intend the

  exception set forth in § 523(a)(8)(A)(ii)—which does not mention the word

  “loan” at all—to also cover them, Aplt.’s App., Vol. III, at 607–08; see Loughrin,

  573 U.S. at 358 (observing that “when ‘Congress includes particular language in

  one section of a statute but omits it in another’—let alone in the very next

  provision—this Court ‘presume[s]’ that Congress intended a difference in

  meaning” (alteration in original) (quoting Russello v. United States, 464 U.S. 16,

  23 (1983))). The court concluded that were it to read the phrase “an obligation to

  repay funds received as an educational benefit” as encompassing student loans, it

  would violate the canon against surplusage because then “there would be no need

  for a separate provision excepting from discharge” specific categories of student

  loans. Aplt.’s App., Vol. III, at 608; see Nielsen v. Preap, --- U.S. ----, 139 S. Ct.


                                             21
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page22 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 22



  954, 969 (2019) (observing that when interpreting a statute “every word and every

  provision is to be given effect [and that n]one should needlessly be given an

  interpretation that causes it to duplicate another provision or to have no

  consequence” (alteration in original) (quoting Antonin Scalia & Bryan A. Garner,

  R EADING L AW : T HE I NTERPRETATION OF L EGAL T EXTS 174 (2012))).

        Finally, the bankruptcy court, applying the interpretative canon of noscitur

  a sociis, determined that the phrase “funds received as an educational benefit”

  does not include student loans because each of the terms in the series “educational

  benefit, scholarship, or stipend” signify conditional grants of money that

  generally need not be repaid by their recipients, whereas loaned money must be

  repaid. Aplt.’s App., Vol. III, at 609–10; see Gustafson v. Alloyd Co., 513 U.S.

  561, 575 (1995) (noting that the canon of noscitur a sociis, which provides that “a

  word is known by the company it keeps,” is a “rule we rely upon to avoid

  ascribing one word a meaning so broad that it is inconsistent with its

  accompanying words, thus giving ‘unintended breadth to the Acts of Congress’”

  (quoting Jarecki v. G.D. Searle & Co., 367 U.S. 303, 307 (1961))). After noting

  the “sparsity of legislative history” regarding 11 U.S.C. § 523(a)(8)(A)(ii), the

  court concluded that the section’s exception “does not encompass the

  [McDaniels’] Tuition Answer Loans.” Aplt.’s App., Vol. III, at 612.




                                            22
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page23 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 23



                                            3

        As relevant here, the bankruptcy court’s reasoning is sound. It is clear to

  us that the statutory terms “obligation to repay funds received as an educational

  benefit” and “educational loan” mean separate things. See 11 U.S.C. § 523(a)(8).

  Congress, as the bankruptcy court noted, used both terms in defining the scope of

  11 U.S.C. § 523(a)(8)’s exceptions to discharge. See Aplt.’s App., Vol. III, at

  607–08. Congress, moreover, expressly contrasted those terms in

  § 523(a)(8)(A)(i) by connecting them with a disjunctive “or,” indicating that they

  refer to different things and have “separate meanings.” Loughrin, 573 U.S. at 357

  (quoting Woods, 571 U.S. at 45–46). And since the exception at issue here—that

  is, § 523(a)(8)(A)(ii)—does not include the term “educational loan,” we presume

  it does not reach such loans. See Babb v. Wilkie, --- U.S. ----, 140. S. Ct. 1168,

  1177 (2020) (“[W]here Congress includes particular language in one section of a

  statute but omits it in another section of the same Act, it is generally presumed

  that Congress acts intentionally and purposely in the disparate inclusion or

  exclusion[.]” (alteration in original) (quoting Russello, 464 U.S. at 23));

  Mohamad v. Palestinian Auth., 566 U.S. 449, 456 (2012) (“We generally seek to

  respect Congress’ decision to use different terms to describe different categories

  of people or things.”); Sosa v. Alvarez-Machain, 542 U.S. 692, 711 n.9 (2004)

  (concluding that “[t]he Government’s request that we read [a specific] phrase into


                                           23
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page24 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 24



  [a statutory] exception, when it is clear that Congress knew how to specify [those

  words] when it wanted to, runs afoul of the usual rule that ‘when the legislature

  uses certain language in one part of the statute and different language in another,

  the court assumes different meanings were intended’” (quoting 2A Norman J.

  Singer, S TATUTES AND S TATUTORY C ONSTRUCTION § 46:06 (6th ed. 2000))).

        If Congress had wanted the exception set forth in § 523(a)(8)(A)(ii) to

  cover student loans, we presume it would have used the term “educational loan”

  or an iteration thereof in that provision, just as it used the term in defining the

  scope of the exceptions in the statute’s adjoining subsections. Crocker v. Navient

  Sols., L.L.C. (In re Crocker), 941 F.3d 206, 218–19 (5th Cir. 2019) (“An initial

  read of Subsection (A)(ii) does not suggest that Congress used the phrase

  ‘obligation to repay funds received as an educational benefit’ in order to include

  private student loans. The immediately preceding Subsection (A)(i) exempts

  ‘educational . . . loan[s].’ Subsection (B) exempts ‘education loan[s].’

  Subsection (A)(ii) makes no reference to loans, its focus seemingly elsewhere.”

  (alterations in original) (omission in original)). 11


        11
               In re Crocker appears to be the first precedential circuit court
  decision to specifically address whether student loans are “an obligation to repay
  funds received as an educational benefit,” for purposes of § 523(a)(8)(A)(ii), and
  it persuasively answered that question in the negative. More specifically, it held
  that § 523(a)(8)(A)(ii)’s term “‘educational benefit’ is limited to conditional
  payments with similarities to scholarships and stipends” and that, as a result,
                                                                          (continued...)

                                             24
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page25 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 25



        Moreover, it is pellucid to us that no “normal speaker of English . . . in the

  circumstances” here would say that student loans are obligations to repay funds

  received as an educational benefit. See Kisor v. Wilkie, --- U.S. ----, 139 S. Ct.

  2400, 2441 (2019) (Gorsuch, J., concurring) (omission in original) (quoting

  Oliver Wendell Holmes, Jr., The Theory of Legal Interpretation, 12 H ARV . L.

  R EV . 417, 417–18 (1899)); accord Comm. of Concerned Midwest Flight

  Attendants for Fair & Equitable Seniority Integration v. Int’l Bhd. of Teamsters

  Airline Div., 662 F.3d 954, 956 (7th Cir. 2011) (quoting Holmes, supra, at

  417–19); see also Kan. State Bank & Tr. Co. v. Old Am. Ins. Co., 491 F.2d 307,

  310 (10th Cir. 1974) (quoting Holmes, supra, at 419).

        The first appearance of the discharge exception for “an obligation to repay

  funds received as an educational benefit”—indeed, of the term “educational

  benefit” itself—occurred in 1990. In re Crocker, 941 F.3d at 222 (emphasis

  omitted) (quoting Crime Control Act of 1990, Pub. L. No. 101-647, § 3621, 104

  Stat. 4789, 4964–65 (codified as amended at 11 U.S.C. § 523(a)(8)(A))). And the

  Supreme Court has indicated that, around that time, the “ordinary sense” of the

  noun benefit was “‘something that guards, aids, or promotes well-being:

  advantage, good’; ‘useful aid’; ‘payment, gift [such as] financial help in time of


        11
          (...continued)
  student loans do not fall within the ambit of that exception to discharge because
  the “repayment [of such loans is] unconditional.” 941 F.3d at 224.

                                            25
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page26 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 26



  sickness, old age, or unemployment’; or ‘a cash payment or service provided for

  under an annuity, pension plan, or insurance policy.’” Fischer v. United States,

  529 U.S. 667, 677 (2000) (alteration in original) (quoting Benefit, WEBSTER ’ S

  T HIRD N EW I NTERNATIONAL D ICTIONARY 204 (1971)).

        It is clear to us that when § 523(a)(8) refers to an “educational benefit,”

  just like when normal speakers of English refer to things like a health benefit,

  unemployment benefit, or retirement benefit, it is using a definition of “benefit”

  that implies a “payment,” “gift,” or “service” that ordinarily does not need to be

  repaid. In re Crocker, 941 F.3d at 220 (observing that such a benefit “generally

  does not need to be repaid”); see Jason Iuliano, Student Loan Bankruptcy and the

  Meaning of Educational Benefit, 93 A M . B ANKR . L.J. 277, 292 (2019) (noting that

  “the term [educational benefit] denotes conditional educational grants—i.e.,

  educational funds that a student receives in exchange for agreeing to perform

  services in the future”); see also Am. Stores Co. & Subsidiaries v. Comm’r, 170

  F.3d 1267, 1279–80 (10th Cir. 1999) (describing an employee plan wherein

  employees “may take the full amount of vacation for the current year at any time

  during the calendar year” but “must repay [any] advance vacation benefits [they

  received] if they terminate employment” (emphasis added)).

        Indeed, if a person were to say that he is looking for a way to receive

  benefits so that he can attend college, we might reasonably infer that he is


                                           26
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page27 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 27



  interested in educational benefits like the GI Bill—not in applying for private

  student loans. Cf. Cleland v. Nat’l Coll. of Bus., 435 U.S. 213, 213 n.1 (1978)

  (per curiam) (“While the term GI Bill is often used to describe veterans’ benefits

  legislation generally, for purposes of this opinion it refers to legislation dealing

  specifically with veterans’ educational assistance benefits.”); N.M. Inst. of Mining

  & Tech. v. Coole (In re Coole), 202 B.R. 518, 519 (Bankr. D.N.M. 1996)

  (“Educational benefit overpayment [within the meaning of § 523(a)(8)(A)(i)]

  occurs in programs like the GI Bill, where students receive periodic payments

  upon their certification that they are attending school. When a student receives

  funds but is not in school, this is a[n] educational benefit overpayment.”).

  Likewise, no normal speaker of English would say that mortgages are housing

  benefits or that automobile loans qualify as transportation benefits. 12 We, thus,



        12
               Navient asserts that “[p]lain English demonstrates that the word
  ‘benefit’ means a profit, gain, or advantage (e.g., the benefit of owning a car or
  the benefit of obtaining an education).” Aplt.’s Opening Br. at 12; Aplt.’s Reply
  Br. at 14. Although the word “benefit” can be used in that manner, we are
  construing it instead as used in 11 U.S.C. § 523(a)(8)(A)(ii)’s phrase “funds
  received as an educational benefit.” And, as just explained, we believe that no
  one would say that student-loan funds are “received as an educational benefit,”
  just as no one would say that car-loan funds are “received as a transportation
  benefit.” That is especially true here, where an adjoining subsection distinguishes
  an “educational benefit overpayment” from a “loan.” See 11 U.S.C.
  § 523(a)(8)(A)(i) (using the phrase “an educational benefit overpayment or loan
  made” (emphasis added)); see also Loughrin, 573 U.S. at 357 (noting that the
  “ordinary use [of ‘or’] is almost always disjunctive, that is, the words it connects
  are to be given separate meanings” (quoting Woods, 571 U.S. at 45–46)).

                                            27
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page28 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 28



  conclude that a student loan is not an educational benefit.

         “[T]hat meaning is confirmed by the ‘commonsense canon of noscitur a

  sociis.’” Freeman v. Quicken Loans, Inc., 566 U.S. 624, 634 (2012) (quoting

  United States v. Williams, 553 U.S. 285, 294 (2008)). This canon, which instructs

  that “a word is known by the company it keeps,” helps us “avoid ascribing to one

  word a meaning so broad that it is inconsistent with its accompanying words, thus

  giving ‘unintended breadth to the Acts of Congress.’” Gustafson, 513 U.S. at 575

  (quoting Jarecki, 367 U.S. at 307). We apply it by giving “words grouped in a

  list . . . [a] related meaning.” Potts v. Ctr. for Excellence in Higher Educ., Inc.,

  908 F.3d 610, 614 (10th Cir. 2018) (quoting Scalia & Garner, supra, at 195); see

  Freeman, 566 U.S. at 635 (indicating that the canon applies when Congress seeks

  “to invoke [a list of] words’ common ‘core of meaning’” (quoting Graham Cty.

  Soil & Water Conservation Dist. v. U.S. ex rel. Wilson, 559 U.S. 280, 289 n.7

  (2010))). In this connection, we construe the list of words at issue as invoking

  their “most general quality—the least common denominator, so to

  speak—relevant to the context.” In re Crocker, 941 F.3d at 219 (quoting Scalia &

  Garner, supra, at 196).

        Congress defined the scope of the statutory exception to discharge at issue

  here as follows: “an obligation to repay funds received as an educational benefit,

  scholarship, or stipend.” 11 U.S.C. § 523(a)(8)(A)(ii). We observe first that the


                                            28
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page29 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 29



  language preceding the exception’s three-item list—i.e., that we are dealing with

  “an obligation to repay”—“is superfluous when referring to loans,” which must be

  repaid, “but it is quite relevant to payments with contingent obligations” to repay

  them. In re Crocker, 941 F.3d at 219. We also observe that a stipend, which is a

  “fixed and regular payment, such as a salary,” and a scholarship, which is a “grant

  of financial aid to a student,” are both grants of money that normally do not need

  to be repaid. Id. (quoting A MERICAN H ERITAGE C OLLEGE D ICTIONARY 1220 (3d

  ed. 1997)). Finally, the noun “benefit” can be interpreted broadly as any

  “advantage [or] good,” or more narrowly as a “payment [or] gift [such as]

  financial help in time of sickness, old age, or unemployment.” Fischer, 529 U.S.

  at 677 (final alteration in original) (quoting WEBSTER ’ S T HIRD N EW

  I NTERNATIONAL D ICTIONARY , supra, at 204).

        Applying the canon of noscitur a sociis, we believe it is clear that the

  “common quality” that the terms “educational benefit,” “scholarship,” and

  “stipend” share “is that [they] ‘signify granting, not borrowing,’” and thus “may

  not need to be repaid.” In re Crocker, 941 F.3d at 219 (quoting published version

  of R., Vol. III, at 610, viz., bankruptcy court’s motion-to-dismiss order in instant,

  underlying proceedings).

        We, thus, conclude that the canon supports our determination that, read

  correctly, the language “an obligation to repay funds received as an educational


                                           29
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page30 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 30



  benefit” signifies a conditional grant of funding for education—akin to a stipend

  and scholarship—as opposed to a loan of funds for education. 13 Id. at 224

  (holding based in part on the noscitur a sociis canon that the term “‘educational

  benefit’ is limited to conditional payments with similarities to scholarships and

  stipends”); see Iuliano, supra, at 296–97 (“Congress’ decision to group these

  terms together and preface them with the phrase ‘obligation to repay funds

  received’ makes complete sense. The subsection was designed to except from

  discharge grants of money that are tied to service obligations—a category wholly

  distinct from loans. In other words, the canon of noscitur a sociis provides

  further support for the Narrow Reading,” which excludes student loans from the

  reach of § 523(a)(8)(A)(ii). (footnote omitted)).




        13
                This interpretation of “educational benefit” helps explain why
  Congress specifies in § 523(a)(8)(A)(i) that the exception covers “an educational
  benefit overpayment,” but not an educational benefit itself. Because educational
  benefits, unlike loans, do not normally need to be repaid, it would make no sense
  for Congress to except from discharge a debtor’s educational benefits: it is only
  when such benefits need to be repaid that they are debts. Section 523(a)(8)(A)(i),
  thus, covers benefit “overpayment[s]” because, although a debtor normally does
  not have to pay back the benefits he receives, he may have to pay back any excess
  benefits he should not have received. See Cazenovia Coll. v. Renshaw (In re
  Renshaw), 229 B.R. 552, 556 n.8 (B.A.P. 2d Cir. 1999) (stating that “[a]n
  ‘educational benefit overpayment’ is an overpayment from a program such as the
  GI Bill where students receive periodic payments while they are enrolled in
  school, but if the students receive payments after they have left the school, that is
  an educational benefit overpayment”).

                                           30
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page31 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 31



                                           4

        Navient nonetheless maintains that § 523(a)(8)(A)(ii) excepts the

  McDaniels’ Tuition Answer Loans from discharge. We reject all of its arguments

  as meritless and thus conclude that Navient fails to shoulder its burden of proving

  that the bankruptcy court’s construction of the statute was mistaken.

        Navient argues first that Congress amended the statute’s exceptions in 2005

  “to specifically cover private student loans.” Aplt.’s Opening Br. at 30. Navient,

  however, does not explain how those 2005 amendments modified the scope of the

  exception set forth in 11 U.S.C. § 523(a)(8)(A)(ii), which, as noted, first appeared

  in the statute in 1990. See In re Crocker, 941 F.3d at 222. Indeed, in In re

  Crocker, the Fifth Circuit persuasively rejected “Navient’s assertion that the 2005

  amendment made all private student loans nondischargeable”:

                      The significant change [of the 2005 amendment] was to
               make nondischargeable “any other . . . qualified educational
               loan,” which Navient concedes the loans here are not, by adding
               Subsection (B). Most importantly for us, Congress barely
               tweaked the 1990 language of “obligation to repay funds received
               as an educational benefit, scholarship or stipend”—it inserted a
               comma after “scholarship.”

  Id. at 222–23 (omission in original). We likewise reject this argument. 14


        14
              Navient relatedly asserts that we should construe § 523(a)(8)(A)(ii)
  as “encompass[ing] student loans” because it is “located in a statute that Congress
  unquestionably enacted to address student loans and that it has consistently
  expanded to cover ever greater numbers and types of loans.” Aplt.’s Opening Br.
                                                                         (continued...)

                                           31
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page32 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 32



        Navient maintains next that the Second Circuit determined in Desormes v.

  Infilaw Corp. (In re Desormes), 569 F. App’x 42 (2d Cir. 2014) (unpublished),

  that “[11 U.S.C.] § 523(a)(8)(A)(ii) encompasses private student loans.” Aplt.’s

  Opening Br. at 31–32. Putting aside the fact that In re Desormes reflects the

  views of only one panel of the Second Circuit in an unpublished decision, its

  summary analysis lacks the power to persuade. See McKenzie v. U.S. Citizenship

  & Immigration Servs., Dist. Dir., 761 F.3d 1149, 1158 (10th Cir. 2014) (stating

  that “[w]e do not consider these decisions persuasive in their application of

  § 334.16(b)” because they “state[] without analysis that § 334.16(b) governs”).

  Although the panel ruled in In re Desormes that “[t]he district court correctly held

  that the [student-loan] debt in question was excepted from discharge under 11

  U.S.C. § 523(a)(8)(A)(ii),” 569 F. App’x at 43, the order does not indicate that

  the panel even considered whether a student loan constitutes “an obligation to


        14
          (...continued)
  at 33. We see no reason to ignore the statute’s plain meaning—set forth in this
  opinion’s preceding section—based on allegedly expansive congressional intent.
  See Bostock v. Clayton Cty., --- U.S. ----, 140 S. Ct. 1731, 1738 (2020) (“[O]nly
  the words on the page constitute the law adopted by Congress and approved by
  the President. If judges could add to . . . or detract from old statutory terms
  inspired only by extratextual sources and our own imaginations, we would risk
  amending the statutes outside the legislative process reserved for the people’s
  representatives.”); United States v. Phillips, 543 F.3d 1197, 1207 (10th Cir. 2008)
  (“[W]e do not look to congressional intent when the statute’s language is plain.
  ‘Going behind the plain language of a statute in search of a possible contrary
  congressional intent is a step to be taken cautiously even under the best of
  circumstances.’” (quoting United States v. Locke, 471 U.S. 84, 95–96 (1985))).

                                           32
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page33 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 33


  repay funds received as an educational benefit” for purposes of § 523(a)(8)(A)(ii),

  see In Re Crocker, 941 F.3d at 222 n.12 (noting that “[t]he opinion [in In re

  Desormes] was quite brief” and, more specifically, that “[t]here was no analysis

  of how to interpret the three-item statutory list” of § 523(a)(8)(A)(ii)). The only

  challenge to the judgment that the panel expressly considered was the idea, which

  it rejected, that, because the loan funds were not transferred to the debtor

  “directly,” that debtor could not be deemed to have“received” them “within the

  meaning of the statute.” In re Desormes, 569 F. App’x at 43. Navient provides

  us with no reason to conclude that In re Desormes actually considered whether

  student loans fall under the language of § 523(a)(8)(A)(ii)’s exception for

  obligations to repay funds received as an educational benefit, and we

  independently discern none.

        To be sure, the panel in In re Desormes stated, as a background principle of

  law, that “[s]tudent loans are presumptively nondischargeable in bankruptcy.” Id.

  But the panel based that broad statement entirely on the Second Circuit’s identical

  statement in Easterling v. Collecto, Inc., 692 F.3d 229, 231 (2d Cir. 2012) (per

  curiam), which in turn was based entirely on the Supreme Court’s broad statement

  in Espinosa that “[s]ection 523(a)(8) renders student loan debt presumptively

  nondischargeable ‘unless’ a determination of undue hardship is made.” Espinosa,

  559 U.S. at 277 n.13 (cited in Easterling, 692 F.3d at 231–32). Yet that statement



                                            33
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page34 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 34


  in Espinosa was clearly intended as a shorthand, rather than a judicial declaration

  that § 523(a)(8) excepts all educational loan debt from discharge—because the

  Supreme Court was very clear in other parts of its opinion that § 523(a)(8)

  excepts only “certain student loan debts” from discharge. Id. at 268; see id. at

  273 (noting in particular that “the text of § 523(a)(8) . . . provides that student

  loan debts guaranteed by governmental units are not dischargeable”); see also

  Iuliano, supra, at 281–82 (“[T]he most important point is that not all student

  loans are excepted from discharge. . . . Unless an educational debt falls within

  one of these classifications [enumerated in § 523(a)(8)], it is dischargeable

  through the normal bankruptcy process.” (footnotes omitted)). 15

        Navient also argues that, because every loan of money includes “an

  obligation to repay” that money, we must hold that § 523(a)(8)(A)(ii)’s exception

  from discharge “necessarily includes loans.” Aplt.’s Opening Br. at 32; see id. at

  32–33 (listing other statutes and regulations where the words “obligation to

        15
               We, too, have occasionally used such shorthand when describing 11
  U.S.C. § 523(a)(8)’s exceptions to discharge. Navient, for example, points out
  that we once said that in enacting § 523(a)(8), “Congress evinced the
  unmistakable intent to make student loan debts presumptively non-dischargeable.”
  Aplt.’s Opening Br. at 13 (quoting Educ. Credit Mgmt. Corp. v. Mersmann (In re
  Mersmann), 505 F.3d 1033, 1047–48 (10th Cir. 2007) (en banc), abrogated on
  other grounds by Espinosa, 559 U.S. at 268 n.5, 273–75). However, at issue in In
  re Mersmann was the narrow question of whether the “practice . . . known as
  ‘discharge-by-declaration’ . . . [under which] the debtor is not required to prove
  undue hardship in an adversary proceeding” was in accord with “the Bankruptcy
  Code and rules.” 505 F.3d at 1038. By using the Espinosa shorthand, we clearly
  were not intimating that § 523(a)(8) excepts all student loans from discharge.

                                             34
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page35 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 35


  repay” or a variant thereof has been used in the context of a loan). We are not,

  however, construing the term “an obligation to repay” on its own. As the Fifth

  Circuit reasoned in In re Crocker in rejecting Navient’s argument that “an

  ‘obligation to repay funds received’ is expansive and includes loans,”

               [t]he fact that an obligation to repay is one way to refer to loans
               is correct, but we are trying to discern the meaning in the context
               of a particular enactment. . . . Congress sandwiched Subsection
               (A)(ii), which does not mention loans at least by name, between
               two subsections that explicitly do. That structure is at least a
               start to saying educational benefits are not loans.

  941 F.3d at 219; see Iuliano, supra, at 294 (“The key question, then, is as

  follows: if Congress meant ‘loan,’ why did it not simply say ‘loan’ rather than

  enact the clunky circumlocution ‘obligation to repay funds received[]’[?] After

  all, Congress used the word ‘loan’ three times in section 523(a), so this is not an

  instance of ignorance. To the contrary, the evidence suggests that Congress’

  choice to forego the term ‘loan’ in this portion of the statute represents a

  considered decision.”).

        Indeed, in the context of the exception at issue here, the fact that the term

  even appears in the exception indicates that the “educational benefit, scholarship,

  or stipend” that a debtor must repay are not the kinds of things that must

  normally be repaid. See In re Crocker, 941 F.3d at 219–20. That is because, as

  previously noted, the term “‘an obligation to repay’ . . . . is superfluous when

  referring to loans” that, by their very nature, must be repaid, “but it is quite

                                            35
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page36 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 36


  relevant to [transfers of money] with contingent obligations” to repay. Id. at

  219; see also id. at 220 (observing that courts have a “duty to give effect, if

  possible, to every clause and word of a statute” (quoting Bennett v. Spear, 520

  U.S. 154, 173 (1997))).

        Navient also says that because § 523(a)(8)(B) excepts from discharge “‘any

  other educational loan[,]’ . . . [t]he two subsections that precede it . . . must also

  refer to loans.” Aplt.’s Opening Br. at 33. This does not necessarily follow. The

  phrase “any other educational loan” in § 523(a)(8)(B) is naturally read as referring

  back to the term “loan” in § 523(a)(8)(A)(i)’s phrase, “educational benefit

  overpayment or loan”—not to the “funds received as an educational benefit”

  phrase in § 523(a)(8)(A)(ii) because, as explained, we do not generally say that a

  student loan is received as an educational benefit.

        In any event, the discharge exception set forth in § 523(a)(8)(B) first

  appeared in the statute in 2005, Bankruptcy Abuse Prevention and Consumer

  Protection Act of 2005, Pub. L. No. 109-8, § 220, 119 Stat. 23, 59 (codified at,

  inter alia, 11 U.S.C. § 523(a)(8)(B)), long after the exception set forth in

  § 523(a)(8)(A)(ii) first appeared in 1990, see Crime Control Act of 1990 § 3621;

  see also In re Crocker, 941 F.3d at 222–23 (recognizing that the § 523(a)(8)(A)(ii)

  exception first appeared in 1990 and the § 523(a)(8)(B) exception first appeared in

  2005). So even if one could divine from the 2005 amendment the 109th



                                             36
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page37 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 37


  Congress’s belief that the 101st Congress intended the exception set forth in

  § 523(a)(8)(A)(ii) to cover student loans, it would have very little, if any,

  significance because “the views of a subsequent Congress form a hazardous basis

  for inferring the intent of an earlier one.” Marvin M. Brandt Revocable Tr. v.

  United States, 572 U.S. 93, 109 (2014) (quoting United States v. Price, 361 U.S.

  304, 313 (1960)); see United States v. Sw. Cable Co., 392 U.S. 157, 170 (1968)

  (stating that “the views of one Congress as to the construction of a statute adopted

  many years before by another Congress have ‘very little, if any, significance’”

  (quoting Rainwater v. United States, 356 U.S. 590, 593 (1958))). We believe that

  the later addition of § 523(a)(8)(B) does not establish that Congress intended

  § 523(a)(8)(A)(ii) to cover educational loans and except them from discharge.

        Navient further maintains that, despite “some overlap” between

  § 523(a)(8)(A)(ii) and § 523(a)(8)’s other subsections, construing

  § 523(a)(8)(A)(ii) to cover student loans “does not render any other portion of the

  statute superfluous” because the section so construed “catches instances of non-

  dischargeability that the other sub[sections] of § 523(a)(8) miss.” Aplt.’s Opening

  Br. at 39. Under its reading, Navient maintains in particular that

  § 523(a)(8)(A)(ii) captures some student loans that § 523(a)(8)(A)(i) fails to reach

  because the former “doesn’t require governmental or nonprofit participation,”

  whereas the latter does. Id. Navient also contends that § 523(a)(8)(A)(ii) so



                                             37
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page38 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 38


  construed excepts from discharge “loans for students at [certain types of] schools .

  . . that § 523(a)(8)(B) does not.” Id. at 39–40.

        Though Navient’s interpretation gives § 523(a)(8)(A)(ii) a gap-filling role to

  play in excepting student loans from discharge, Navient does not explain how its

  reading of the statute leaves those adjoining “subsections serv[ing] much

  purpose.” In re Crocker, 941 F.3d at 220; see id. (“If an ‘obligation to repay funds

  including educational benefits’ includes repaying private student loans, that

  requires defining ‘educational benefit’ to include loans, which then means it also

  covers the public loans that are the focus of Subsection 523(a)(8)(A)(i).”); Nunez

  v. Key Educ. Res. (In re Nunez), 527 B.R. 410, 415 (Bankr. D. Or. 2015) (“I see no

  basis to untether the language in § 523(a)(8)(A)(ii) to apply the student loan

  exception to discharge to ‘all obligations to repay funds received as an educational

  benefit, scholarship or stipend,’ without limitation. Such an interpretation would

  render § 523(a)(8)(B) . . . superfluous and makes no sense. After all, if any

  educational loans of any kind are excepted from discharge by § 523(a)(8)(A)(ii),

  what addition does excepting qualified educational loans under the Internal

  Revenue Code make to the discharge exception?”). And it is important to “resist a

  reading” of a statute’s language that “would render superfluous” other adjoining

  portions of that statute. Yates v. United States, 574 U.S. 528, 543 (2015) (plurality

  opinion); see id. (declining to adopt government’s reading of a statute because



                                            38
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page39 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 39


  “[n]owhere does the Government explain what independent function [18 U.S.C.]

  § 1512(c)(1) would serve if the Government is right about the sweeping scope of

  § 1519”).

        Navient suggests, however, that § 523(a)(8)(B) still has work to do because

  it lacks the “‘funds received’ element” that § 523(a)(8)(A)(ii) has. Aplt.’s

  Opening Br. at 39. Navient cites Wills v. Sallie Mae Servicing (In re Wills), No.

  08-80404-FJO-07, 2010 WL 1688221 (S.D. Ind. Apr. 23, 2010) (unpublished), as

  an example of a case where § 523(a)(8)(A)(ii) might not except the student loan

  from discharge, but § 523(a)(8)(B) does: there, the loan’s debtor was not the

  student who received the funds to attend school—his grandson was. Id. Navient

  contends that because the debtor in that case “did not receive the benefit of the

  education or the benefit of the loan proceeds,” his student-loan debt “likely would

  not have been covered by § 523(a)(8)(A)(ii).” Id. The bankruptcy court in In re

  Wills did not address that issue, however. The court there simply determined that

  the debtor’s loan constituted “a qualified education loan” under 11 U.S.C.

  § 523(a)(8)(B), without opining on whether it also constituted “an obligation to

  repay funds received as an educational benefit” for purposes of § 523(a)(8)(A)(ii).

  2010 WL 1688221, at *7. Navient, moreover, does not explain why we should

  conclude that § 523(a)(8)(A)(ii) requires the debtor to be the person who received




                                            39
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page40 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 40


  the funds as an educational benefit. See Aplt.’s Opening Br. at 39. 16 Therefore,

  Navient’s argument is unpersuasive.

        Navient finally argues that we may not properly apply the doctrine of

  noscitur a sociis only to § 523(a)(8)(A)(ii)’s series of “educational benefit,

  scholarship, or stipend,” but must apply it instead to § 523(a)(8)’s entire list of

  discharge exceptions, which, Navient contends, “unquestionably apply to student

  loans.” Aplt.’s Opening Br. at 43. Recall at the outset—as noted supra (Part

  II.B.3)—that, even though noscitur a sociis helpfully confirms our understanding

  of § 523(a)(8)(A)(ii), we would conclude in any event from that statute’s text and

  context, that the Tuition Answer Loans are not an educational benefit and that,

  consequently, § 523(a)(8)(A)(ii) does not except them from discharge. Yet,

  addressing Navient’s argument head-on, we find no merit in it.

        To be sure, in construing a word based on the company it keeps, we are not

  limited to comparing it “only to [its] immediately surrounding words,” Schindler

  Elevator Corp. v. U.S. el rel. Kirk, 563 U.S. 401, 409 (2011), but must compare it

  instead to as much of the statute as “provide[s] interpretive guidance,” id. (quoting

        16
                Indeed, In re Desormes—the Second Circuit panel decision that
  Navient has relied upon supra in arguing that student loans are nondischargeable
  under § 523(a)(8)(A)(ii)—has opined to the contrary. See 569 F. App’x at 43
  (“Contrary to Desormes’s argument, if a transfer of funds directly to the debtor is
  not necessary for the creation of a loan, there is little reason to think such a
  transfer is necessary for the loan to be received within the meaning of the statute
  [i.e., § 523(a)(8)(A)(ii)].”). Under our reasoning and ultimate disposition, we
  have no need to opine on this matter and, therefore, do not do so.

                                            40
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page41 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 41


  Graham Cty. Soil, 559 U.S. at 289). Navient, however, does not say why all of

  § 523(a)(8)—as opposed to only § 523(a)(8)(A)(ii)’s three-item list of

  “educational benefit, scholarship, or stipend”—provides interpretive guidance

  when interpreting just how broadly or narrowly Congress intended each item in

  that list to be. Aplt.’s Opening Br. at 43–45.

        We, in any event, do not agree with Navient that the common quality

  connecting the exceptions in § 523(a)(8) is that they all deal with “student loans.”

  Id. at 43. The section, after all, also excepts from discharge “an obligation to

  repay funds received as . . . [a] scholarship, or stipend.” 11 U.S.C.

  § 523(a)(8)(A)(ii). And those exceptions do not cover student loans of any kind.

  Navient nonetheless asserts that scholarships and stipends are “similar” to loans

  since they, too, assist their recipients “with meeting the costs of education.”

  Aplt.’s Opening Br. at 44. But if any funds that help a person meet “the costs of

  education” were to constitute funds received as an educational benefit, Navient’s

  reading of the statute would be exceedingly broad—swallowing, among other

  things, any credit-card debt used to buy textbooks, as the McDaniels observe.

  Aplees.’ Resp. Br. at 1 n.2.

        And if the exception set forth in 11 U.S.C. § 523(a)(8)(A)(ii) were actually

  that expansive, “Congress could have just exempted from discharge any

  ‘obligation to repay funds received as an educational benefit’ and left it at that.”



                                            41
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page42 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 42


  In re Crocker, 941 F.3d at 220; see Iuliano, supra, at 298 (noting that applying

  “the broad interpretation of educational benefit” to § 523(a)(8)(A)(ii) to

  encompass all loans “that recipients use to advance their educations” “render[s]

  irrelevant every other exception that Congress set forth in these three clauses” of

  § 523(a)(8)). We see no reason to adopt a construction of the exception that would

  render so much of the rest of § 523(a)(8) redundant. See Marx v. Gen. Revenue

  Corp., 568 U.S. 371, 386 (2013) (“[T]he canon against surplusage is strongest

  when an interpretation would render superfluous another part of the same statutory

  scheme.”).

        There is indeed a common quality linking together the items in the statutory

  phrase “educational benefit, scholarship, or stipend”: they can all naturally be read

  to describe “conditional payments.” In re Crocker, 941 F.3d at 224. We, thus,

  conclude that Congress grouped those words together in a list “to invoke [their]

  common ‘core of meaning.’” See Freeman, 566 U.S. at 635 (quoting Graham Cty.

  Soil, 559 U.S. at 289 n.7). And we consider it quite permissible to interpret the

  term “educational benefit” in § 523(a)(8)(A)(ii) by applying the canon of noscitur

  a sociis to the three-item list in that subsection. See In re Crocker, 941 F.3d at

  220 (applying the noscitur a sociis canon to the three-term list of

  § 523(a)(8)(A)(ii) and noting that “[t]he brevity of the list in the text we must

  review does not compel ignoring the relevant term’s neighbors”); see also Scalia,



                                            42
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page43 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 43


  supra, at 196–97 (noting that “[t]he associated-words canon [i.e., noscitur a

  sociis] has tremendous value in a broad array of cases,” and illustrating the

  canon’s operation by discussing a state-court case with a three-term list). 17

        In sum, we conclude that Navient’s arguments for reversal fail to withstand

  scrutiny. We, accordingly, uphold the bankruptcy court’s determination that the

        17
                 Navient quotes Graham County Soil for the proposition that “[a] list
  of three items . . . is too short to be particularly illuminating” under the doctrine
  of noscitur a sociis. Aplt.’s Opening Br. at 43 (omission in original) (quoting
  Graham Cty. Soil, 559 U.S. at 288). The text that Navient omits from that quote
  contains a critical qualification, however. The full sentence reads as follows: “[a]
  list of three items, each quite distinct from the other no matter how construed, is
  too short to be particularly illuminating.” Graham Cty. Soil, 559 U.S. at 288.
  And, as we have explained, the three items listed in § 523(a)(8)(A)(ii) share a
  common quality and core of meaning and, thus, are not “each quite distinct from
  the other no matter how construed.” Id. In Graham County Soil, moreover, the
  Court was perfectly clear that the doctrine of noscitur a sociis can be fruitfully
  applied to lists containing only three items. It, for example, favorably cited the
  doctrine’s application to a three-item list in Jarecki v. G.D. Searle & Co., 367
  U.S. 303 (1961). See 559 U.S. at 289 n.7 (recognizing that in Jarecki the doctrine
  helped the Court correctly construe the statutory phrase “[i]ncome resulting from
  exploration, discover, or prospecting” (quoting Jarecki, 367 U.S. at 305)).
  Further, since Graham County Soil, the Court has used the doctrine to construe
  yet another three-item list. See Freeman, 566 U.S. at 634–35 (applying the
  doctrine to interpret the meaning of the words “portion” and “percentage” in 12
  U.S.C. § 2607(b)’s phrase “any portion, split, or percentage of any charge made
  or received”). We recognize that—relying on Graham County Soil—we, too,
  have suggested that three terms may not be enough to properly apply the noscitur
  a sociis canon, see United States v. Franklin, 785 F.3d 1365, 1369 (10th Cir.
  2015), but our comment there was dictum because “a list of two words” was at
  issue, see id. We conclude, therefore, that it is quite permissible for us to use the
  doctrine of noscitur a sociis even though the list consists of only three items.
  And, lest we forget, even without reference to noscitur a sociis, we would
  conclude—from the statute’s text and context—that the Tuition Answer Loans are
  not an educational benefit and that, consequently, § 523(a)(8)(A)(ii) does not
  except them from discharge.

                                            43
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page44 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 44


  statutory exception to discharge set forth in § 523(a)(8)(A)(ii) does not cover the

  McDaniels’ Tuition Answer Loans. 18

                                           III

        In conclusion, we hold that the bankruptcy court did not err in ruling that

  the McDaniels’ confirmed Chapter 13 plan did not decide whether their Tuition

  Answer Loans are excepted from discharge in bankruptcy. We hold further that

  the bankruptcy court did not err in ruling that § 523(a)(8)(A)(ii) does not except

  student loans from discharge and, consequently, that the exception does not cover

  the McDaniels’ Tuition Answer Loans. We, therefore, AFFIRM the bankruptcy

  court’s interlocutory order dismissing Navient’s motion to dismiss the McDaniels’

  dischargeability claim and REMAND the case for further proceedings not

        18
                Navient challenges the bankruptcy court’s construction of
  § 523(a)(8)(A)(ii) on other grounds as well. Navient asserts, for example, that the
  bankruptcy court should not have considered it important that the subsection
  “uses the phrase ‘received as an educational benefit’ rather than the phrase
  ‘received for an educational benefit.’” Aplt.’s Opening Br. at 34 (citing Aplt.’s
  App., Vol. III, at 608). But see In re Crocker, 941 F.3d at 221 (agreeing that the
  decision to use “as,” instead of “for,” was “a minor word-choice,” but holding
  that “the drafters’ word choice does not support inclusion of private student
  loans”). Navient also says that § 523(a)(8)’s legislative history forms too thin of
  a reed to provide any clarification of any ambiguity the statute may contain.
  Aplt.’s Opening Br. at 45–46. We need not opine on the import of the section’s
  use of “as,” instead of “for,” nor on its legislative history, in order to affirm the
  bankruptcy court’s judgment. We, therefore, decline to reach these matters. See
  Azar v. Allina Health Servs., --- U.S. ----, 139 S. Ct. 1804, 1814 (2019) (“We
  need not, however, go so far as to say that the . . . interpretation, adopted by the
  court of appeals, is correct in every particular. To affirm the judgment before us,
  it is enough to say the [appellant’s] arguments for reversal fail to withstand
  scrutiny. Other questions about the statute’s meaning can await other cases.”).

                                            44
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page45 of 47
Appellate Case: 18-1445 Document: 010110399372 Date Filed: 08/31/2020 Page: 45


  inconsistent with this opinion. 19




        19
             The motion to file an amicus curiae brief (dated Arpil 18, 2019) is
  denied.


                                            45
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page46 of 47
Appellate Case: 18-1445 Document: 010110399380 Date Filed: 08/31/2020 Page: 1

                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                Byron White United States Courthouse
                                         1823 Stout Street
                                      Denver, Colorado 80257
                                          (303) 844-3157
  Christopher M. Wolpert                                                         Jane K. Castro
  Clerk of Court                        August 31, 2020                      Chief Deputy Clerk




  Mr. Thomas M. Farrell
  McGuire Woods
  600 Travis Street, Suite 7500
  Houston, TX 77002

  Mr. Eric E. Johnson
  Sherman & Howard
  633 17th Street, Suite 3000
  Denver, CO 80202

  Ms. Courtney Alexa McCormick
  McGuire Woods
  50 North Laura Street, Suite 3300
  Jacksonville, FL 32202

  Ms. Karen Elizabeth Sieg
  McGuire Woods
  800 East Canal Street
  Richmond, VA 23219

  RE:       18-1445, McDaniel, et al v. Navient Solutions
            Dist/Ag docket: 1:09-BK-37480-KHT, 1:17-BK-01274-KHT

 Dear Counsel:

 Enclosed is a copy of the opinion of the court issued today in this matter. The court has
 entered judgment on the docket pursuant to Fed. R. App. P. Rule 36.

 Pursuant to Fed. R. App. P. 40(a)(1), any petition for rehearing must be filed within 14
 days after entry of judgment. Please note, however, that if the appeal is a civil case in
 which the United States or its officer or agency is a party, any petition for rehearing must
 be filed within 45 days after entry of judgment. Parties should consult both the Federal
 Rules and local rules of this court with regard to applicable standards and requirements.
 In particular, petitions for rehearing may not exceed 3900 words or 15 pages in length,
 and no answer is permitted unless the court enters an order requiring a response. If
Case:17-01274-KHT Doc#:51 Filed:08/31/20 Entered:08/31/20 15:37:27 Page47 of 47
Appellate Case: 18-1445 Document: 010110399380 Date Filed: 08/31/2020 Page: 2
 requesting rehearing en banc, the requesting party must file 6 paper copies with the clerk,
 in addition to satisfying all Electronic Case Filing requirements. See Fed. R. App. P.
 Rules 35 and 40, and 10th Cir. R. 35 and 40 for further information governing petitions
 for rehearing.

 Please contact this office if you have questions.

                                             Sincerely,



                                             Christopher M. Wolpert
                                             Clerk of the Court



  cc:      Austin C. Smith
           Tara A. Twomey
  CMW/na
